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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0817V
                                          UNPUBLISHED


    JUDY BELL,                                                  Chief Special Master Corcoran

                         Petitioner,                            Filed: September 8, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Findings of Fact; Onset; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.


                                           FINDINGS OF FACT1

       On June 3, 2019, Judy Bell filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine received on October
10, 2017. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.



1
  Because this unpublished Fact Ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Fact Ruling will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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      For the reasons discussed below, I find onset of Petitioner’s shoulder pain
occurred within the Table period (here, immediately after vaccination).

    I.      Relevant Procedural History

       Following the initial status conference, Respondent was directed to file a status
report indicating his position in the case. Scheduling Order, issued Aug. 9, 2019 (ECF
No. 10). On May 4, 2020, when the case had been pending for eleven months,
Respondent filed a status report stating that the case had not been reviewed and would
not undergo review for at least an additional 90 days. Respondent’s Status Report, filed
May 4, 2020 (ECF No. 18). Respondent was then directed to file a status report providing
counsel’s informal assessment of the case. Scheduling Order, issued May 6, 2020 (ECF
No. 19). Respondent did so on July 7, 2020, identifying no specific issues with the case
or record filings (ECF No. 20).

       Respondent later, however, expressed the intent to defend the claim, and on
November 2, 2020, filed his Rule 4(c) Report asserting that the case was not appropriate
for compensation. Rule 4(c) Report, filed Nov. 2, 2020 (ECF No. 22). Respondent’s
primary contention was that it was not clear that the onset of Petitioner’s shoulder pain
began within 48 hours of vaccination.3 Id. at *6. I thereafter directed Petitioner to file a
motion for a fact ruling concerning onset, along with any additional evidence she wished
to provide. Scheduling Order, issued Dec. 2, 2020 (ECF No. 23). Petitioner filed her
motion for a fact ruling, along with additional evidence, on February 8, 2021 (ECF Nos.
24-25). Respondent filed a response on March 10, 2021 (ECF No. 26), and Petitioner
replied on March 17, 2021 (ECF No. 27). The issue of the onset of Petitioner’s shoulder
pain is now ripe for resolution.

    II.     Issue

       At issue is whether Petitioner’s first symptom or manifestation of onset (specifically
pain) occurred within 48 hours after vaccine administration as set forth in the Vaccine
Injury Table and Qualifications and Aids to Interpretation (“QAI”) for a Table SIRVA. 42
C.F.R. § 100.3(a) XIV.B. (2017) (influenza vaccination); 42 C.F.R. § 100.3(c)(10)(ii)
(required onset for pain listed in the QAI).




3
  Onset had not been identified in counsel’s informal assessment, but was raised for the first time in the
Rule 4 Report – an unexpected development, particularly in light of the robust record evidence supporting
a finding of onset within 48 hours and the relatively weak concerns raised by Respondent to the contrary.

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   III.    Authority

         Pursuant to Vaccine Act Section 13(a)(1)(A), a petitioner must prove, by a
preponderance of the evidence, the matters required in the petition by Vaccine Act
Section 11(c)(1). A special master must consider, but is not bound by, any diagnosis,
conclusion, judgment, test result, report, or summary concerning the nature, causation,
and aggravation of petitioner’s injury or illness that is contained in a medical record.
Section 13(b)(1). “Medical records, in general, warrant consideration as trustworthy
evidence. The records contain information supplied to or by health professionals to
facilitate diagnosis and treatment of medical conditions. With proper treatment hanging in
the balance, accuracy has an extra premium. These records are also generally
contemporaneous to the medical events.” Cucuras v. Sec’y of Health & Hum. Servs., 993
F.2d 1525, 1528 (Fed. Cir. 1993).

       Accordingly, where medical records are clear, consistent, and complete, they
should be afforded substantial weight. Lowrie v. Sec’y of Health & Hum. Servs., No. 03-
1585V, 2005 WL 6117475, at *20 (Fed. Cl. Spec. Mstr. Dec. 12, 2005). However, this rule
does not always apply. In Lowrie, the special master wrote that “written records which
are, themselves, inconsistent, should be accorded less deference than those which are
internally consistent.” Lowrie, at *19. And the Federal Circuit recently “reject[ed] as
incorrect the presumption that medical records are accurate and complete as to all the
patient’s physical conditions.” Kirby v. Sec’y of Health & Hum. Servs., 997 F.3d 1378,
1383 (Fed. Cir. 2021).

         The United States Court of Federal Claims has recognized that “medical records
may be incomplete or inaccurate.” Camery v. Sec’y of Health & Hum. Servs., 42 Fed. Cl.
381, 391 (1998). The Court later outlined four possible explanations for inconsistencies
between contemporaneously created medical records and later testimony: (1) a person’s
failure to recount to the medical professional everything that happened during the relevant
time period; (2) the medical professional’s failure to document everything reported to her
or him; (3) a person’s faulty recollection of the events when presenting testimony; or (4)
a person’s purposeful recounting of symptoms that did not exist. La Londe v. Sec’y of
Health & Hum. Servs., 110 Fed. Cl. 184, 203-04 (2013), aff’d, 746 F.3d 1335 (Fed. Cir.
2014).

       The Court has also said that medical records may be outweighed by testimony that
is given later in time that is “consistent, clear, cogent, and compelling.” Camery, 42 Fed.
Cl. at 391 (citing Blutstein v. Sec’y of Health & Hum. Servs., No. 90-2808, 1998 WL
408611, at *5 (Fed. Cl. Spec. Mstr. June 30, 1998). The credibility of the individual offering
such testimony must also be determined. Andreu v. Sec’y of Health & Hum. Servs., 569


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F.3d 1367, 1379 (Fed. Cir. 2009); Bradley v. Sec’y of Health & Hum. Servs., 991 F.2d
1570, 1575 (Fed. Cir. 1993).

        A special master may find that the first symptom or manifestation of onset of an
injury occurred “within the time period described in the Vaccine Injury Table even though
the occurrence of such symptom or manifestation was not recorded or was incorrectly
recorded as having occurred outside such period.” Section 13(b)(2). “Such a finding may
be made only upon demonstration by a preponderance of the evidence that the onset [of
the injury] . . . did in fact occur within the time period described in the Vaccine Injury
Table.” Id.

       The special master is obligated to fully consider and compare the medical records,
testimony, and all other “relevant and reliable evidence contained in the record.” La
Londe, 110 Fed. Cl. at 204 (citing Section 12(d)(3); Vaccine Rule 8); see also Burns v.
Sec’y of Health & Hum. Servs., 3 F.3d 415, 417 (Fed. Cir. 1993) (holding that it is within
the special master’s discretion to determine whether to afford greater weight to medical
records or to other evidence, such as oral testimony surrounding the events in question
that was given at a later date, provided that such determination is rational).

   IV.    Parties’ Positions

          a. Petitioner’s Arguments

        Petitioner asserts that her pain started directly after receiving the flu vaccine on
October 10, 2017. Pet. Mot. at *6. She states that when she sought care from numerous
health care providers, she consistently linked her shoulder pain to the October 10 flu
vaccine. Id. at *8. In particular, after receiving the flu vaccine, she noticed a hard knot at
the injection site. Id. at *10 (citing Ex. 1 at ¶ 6 and Ex. 15 at ¶¶ 4-6). She adds that four
separate witnesses recall her complaining of left shoulder pain after receiving the vaccine.
Id. Petitioner argues that a preponderance of the evidence indicates that she suffered
immediate pain after the October 10, 2017 flu vaccine. Id. at 12.

       In addition, Petitioner notes that three different healthcare providers documented
that the onset of her injury as having occurred within 48 hours of vaccination. Petitioner’s
Reply (“Reply”) at *2. And other instances of “silence” in medical records does not negate
her claim. Id. She emphasizes that she did not have any intervening medical visits
between receiving the vaccine and reporting her symptoms on January 25, 2018. Id. at
*2-3. With respect to her physician’s phone records, she asserts that their failure to
memorialize her shoulder symptoms does not negate her assertion that her symptoms
began within 48 hours. Id. at *3. She argues that when her declarations are evaluated in


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concert with the medical records, the record supports a finding that her shoulder pain
began within 48 hours of vaccine administration. Id. Petitioner adds that she still has a
knot at the injection site and has filed a photograph thereof as further proof of onset. Reply
at *3-4.

           b. Respondent’s Arguments

        Respondent notes that Petitioner did not seek care until 108 days after vaccination.
Respondent’s Response to Motion (“Response”) at *2. Indeed, Petitioner called her
doctor’s office on October 19, 2017, nine days after vaccination, to request additional
insulin needles, but did not report shoulder pain. Response at *14. And although there is
record support that she called her doctor’s office several times in the interim, the records
of these calls do not document shoulder pain or discomfort. Id. at n.1.

       Such records, Respondent maintains, are entitled to reliability presumptions.
Cucuras, 993 F.2d at 1528; Response at *13-14. They deserve more weight than her own
claims - which cannot alone, unsubstantiated by medical records or medical opinion, be
the basis for an entitlement determination. Id. at *10 (citing Vaccine Act § 13(a)). And
here, this kind of evidence is itself problematic. Thus, although Petitioner has provided
declarations indicating that she complained of left shoulder pain on the day of, or in the
days following, vaccination, she did not report any of these complaints to medical
providers despite numerous opportunities to do so. Response at *14. Petitioner therefore
cannot meet this Table requirement.

    V.     Finding of Fact

       I make the following findings after a complete review of the record, which includes
all medical records, declarations, Respondent’s Rule 4 report, and additional evidence
filed:

           •   The October 10, 2017 vaccine administration record establishes that
               Petitioner received a flu vaccine in her left deltoid on that date. Ex. 2 at 1.

           •   Family First telephone records, establishing that Petitioner called eight
               times between October 19 and December 22, 2017, for prescription refills
               and concerning the results of a sleep study and sleep apnea.4 Ex. 10 at 1-
               11. These records are silent on shoulder or arm complaints.

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 There was also a telephone encounter on October 16, 2017, which the record indicates was initiated from
Family First to inform Petitioner of abnormal labwork results, and to recommend medication in response.
Ex. 10 at 12.

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 •   The record of Petitioner’s January 25, 2018 appointment with Nurse
     Practitioner (“NP”) Rachael Sapp, at which Petitioner reported pain in her
     left arm where she had her flu shot, radiating up to her shoulder. Ex. 3 at
     11. Petitioner reported that the pain made it difficult to hold a coffee cup. Id.
     On examination, the range of motion in Petitioner’s left shoulder was found
     to be reduced by 50% due to pain. Id. Petitioner was assessed with a skin
     lesion in her left deltoid. Id. at 10. She was given pain medication and an
     ultrasound was ordered. Id.

 •   The record of Petitioner’s February 7, 2018 left shoulder ultrasound. Ex. 4
     at 60-61. The ultrasound was ordered due to a history of pain and a shot in
     Petitioner’s left shoulder. Id. at 60. The test revealed an area that “most
     likely” represented a fluid collection. Id. The findings were interpreted as
     “suggestive of a possible subcutaneous contusion/resolving hematoma.” Id.

 •   The record of Petitioner’s April 26, 2018 appointment with NP Sapp, at
     which Petitioner reported persistent left arm pain since her flu shot, in
     addition to left arm weakness. Ex. 3 at 6. Petitioner reported that she
     experienced increased pain at work as a certified nurse assistant (“CNA”)
     moving patients. Id. at 6. On examination, Petitioner was found to exhibit
     tenderness in the mid-deltoid area, and was directed to continue taking pain
     medication. Id. at 5-6.

 •   The record of Petitioner’s July 11, 2018 appointment with orthopedic
     physician’s assistant (“PA”) Danny Eagle. Ex. 4 at 49. PA Eagle
     documented that Petitioner’s chief complaint was left shoulder pain that
     began at the injection site after Petitioner received a flu shot the year before.
     Id. at 49-50. Petitioner reported, “[a]fter the injection she noticed a knot at
     the injection site. Her LEFT arm and shoulder has hurt since then.” Id. at
     50. At worst, the pain was 9-10 on a scale of 0-10, and the pain was
     aggravated by lifting, carrying, pushing/pulling, and range of motion. Id. On
     examination, Petitioner was found to have reduced range of motion and an
     asymmetric left shoulder hike. Id. at 51. PA Eagle’s ability to perform special
     tests was “limited due to her inability to elevate the arm and noted
     adhesion.” Id. PA Eagle assessed Petitioner with adhesive capsulitis. Id. at
     52. He administered a steroid injection and referred Petitioner for physical
     therapy. Id. at 51-52.

 •   The record of Petitioner’s July 12, 2018 physical therapy evaluation,
     indicating that her left shoulder pain resulted from a flu shot and had

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     persisted for nine months. Ex. 6 at 4. Petitioner reported being concerned
     that the pain remained severe and was not going away. Id. On examination,
     severe tender taut fibers were observed over Petitioner’s left shoulder, left
     anterior shoulder, and left supraspinatus tendon. Id. at 3. Apley’s scratch
     test was positive on the left side. Id. Petitioner’s range of motion was
     reduced in all planes and painful. Id. at 2-3.

 •   The record of Petitioner’s August 1, 2018 appointment with NP Sapp, noting
     that Petitioner reported that she had seen an orthopedist who stated that
     her left shoulder pain was related to her flu shot. Ex. 3 at 2-3.

 •   The record of Petitioner’s January 25, 2019 appointment with Dr. Saira
     Nasser, indicating that Petitioner reported left shoulder pain caused by a flu
     shot the year before. Ex. 5 at 1. On examination, Dr. Nasser found that
     Petitioner’s left shoulder range of motion was reduced and that she could
     not raise her arm above her shoulder. Id. at 2. Petitioner was given a
     prescription for meloxicam and advised to continue taking Flexeril as
     needed. Id. at 3.

 •   Petitioner’s declaration averring that she experienced immediate pain after
     receiving her flu shot. Ex. 1 at ¶ 6. She stated that she developed a hard
     knot at the injection site, and within a few days could not lift her arm. Id. She
     added that she called her doctor’s office both within a week of the flu shot
     and over the next two months, and was told to ice her shoulder and the pain
     would go away. Id. at ¶¶ 6-7; Ex. 15 at ¶¶ 10-11. Petitioner explained that
     she did not initially go in to see her doctor because she was repeatedly told
     on the phone that with icing the pain would go away. Ex. 1 at ¶ 7. Petitioner
     reported that she works as a CNA and her injury had impaired her ability to
     move patients. Id. at ¶ 17. Petitioner added that her mother came with her
     to the appointment where she received the flu shot, and afterward they ate
     together. Ex. 15 at ¶¶ 3, 5. Petitioner stated that she told her mother that
     her arm still hurt. Id.

 •   A declaration from Petitioner’s mother, Shirley Ramirez. Ex. 11. Ms.
     Ramirez averred that while eating just after Petitioner received the flu shot,
     Petitioner reported that her shoulder was hurting. Id. at ¶ 9. She reported
     that Petitioner continued to complain of shoulder pain when they got home
     and the following day. Id. at ¶¶ 9-10. Ms. Ramirez averred that her sister
     Sharon Cash, who is Petitioner’s aunt, died on October 11, 2017 and the
     funeral was held on October 13, 2017. Id. at ¶¶ 11-12. Ms. Ramirez reported
     that Petitioner complained about shoulder pain to another aunt at the

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     funeral. Id. at ¶¶ 11-12. Petitioner submitted Ms. Cash’s obituary, indicating
     that Ms. Cash passed away on October 11, 2017 and her funeral was on
     October 13, 2017. Ex. 17.

 •   A declaration from Petitioner’s daughter, Hope Bell, who also works as a
     CNA. Ex. 12 at ¶ 4. Petitioner’s daughter averred that in 2017 she lived next
     door to her mom and saw her daily. Id. at ¶ 6. Ms. Bell averred that the day
     after her mother’s flu shot, her mother complained of pain and soreness in
     her left shoulder where she received the flu shot. Id. at ¶ 8. Ms. Bell reported
     that she looked at the injection site and observed that it was red and
     swollen, with a knot. Id. at ¶ 9.

 •   Ms. Bell also stated that she advised her mother to call her doctor, and that
     when her mother did so, the doctor’s office stated that the reaction was
     normal and she should ice her shoulder. Ex. 12 at ¶¶ 10-11. Her mother did
     ice her shoulder, but that rather than improving, she experienced more pain
     and limitations within about a week of the flu shot. Id. at ¶¶ 12-13. Ms. Bell
     observed that her mother’s ability to lift her arm was limited. Id. at ¶ 13. Ms.
     Bell averred that she began to help her mother with getting dressed and
     cooking due to her arm pain. Id. at ¶¶ 14-15. In particular, on Thanksgiving
     2017 Ms. Bell stated that she had to help with the turkey and ham because
     her mother could not lift or carry them in and out of the oven. Id. at ¶ 16.

 •   An affidavit from Debra Williams, Petitioner’s friend and former colleague.
     Ex. 13. Ms. Williams averred that she spoke to Petitioner a few days after
     the October 2017 flu shot and was told that Petitioner’s shoulder hurt at the
     injection site. Id. at ¶ 10. Petitioner continued to complain of pain over the
     next month or so, reporting that it was getting worse. Id. Ms. Williams
     averred that Petitioner told her she was icing her shoulder for the pain. Id.
     at ¶ 12. Ms. Williams reported that she visited Petitioner around Christmas
     of 2017 and noticed that Petitioner could not do certain things due to the
     pain in her shoulder. Id. at ¶ 13. For instance, she could not raise her arm
     higher than breast height, and needed help carrying a pot. Id. at ¶ 14. Ms.
     Williams reported that during her visit, Petitioner suddenly dropped a coffee
     mug she was holding in her injured arm. Id.

 •   An affidavit from India Rosebud, another friend and co-worker of Petitioner.
     Ex. 14. Ms. Rosebud averred that she met Petitioner during a work
     orientation at the end of 2018, and saw her three or four times a week. Id.
     at ¶¶ 6-7. They became friends and shared meals. Id. at ¶ 8. As Ms.
     Rosebud got to know Petitioner, she began noticing Petitioner struggling on

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              her left side, and needing help to move patients. Id. at ¶ 9. Petitioner
              requested patients who could do more on their own, so that she would not
              need to move them. Id. at ¶ 10. Ms. Rosebud recounted an incident at a
              lunch buffet where Petitioner almost dropped her plate of food. Id. at ¶ 11.
              Petitioner attributed this to shoulder problems since her flu shot. Id. at ¶ 12.

       The above records demonstrate, by a preponderance of the evidence, that
Petitioner experienced pain immediately after vaccine administration. Although
Petitioner’s medical records do not indicate that she sought care until over three months
after vaccination, when she did seek care she consistently related her pain to her flu shot
and reported that she had experienced pain since her flu shot. In these circumstances,
the delay in seeking treatment does not undercut Petitioner’s claim.

        There are some intervening medical records from this period – a number of calls
between Petitioner and her health care provider – that do not mention shoulder
complaints. Ex. 10 at 1-11. Petitioner asserts, however, that she in fact called her doctor’s
office a week after the flu shot and over the next two months to complain of shoulder pain
and was directed to ice her shoulder, and the pain would go away. Ex. 1 at ¶¶ 6-7; Ex. 15
at ¶¶ 10-11.

        Although Respondent reasonably observes that Petitioner had the opportunity to
complain of her purported pain but apparently did not, Petitioner’s declaration testimony
to the contrary – both that she did complain, and that she was then experiencing pain
regardless of what these records indicate - is not rebutted by the phone records’ silence
on the issue of shoulder pain. Petitioner’s calls during this time concerned other health
matters unrelated to shoulder pain, and thus the fact that they do not address it does not
automatically undercut her assertions. See Kirby, 997 F.3d at 1383 (“[w]e see no basis
for presuming that medical records are accurate and complete even as to all physical
conditions . . . . ‘the absence of a reference to a condition or circumstance is much less
significant than a reference which negates the existence of the condition or
circumstance’ ”) (citation omitted). In addition, I credit Petitioner’s declaration testimony
that she called and was told to ice her shoulder, a contention corroborated by Ms. Bell.
Ex. 12 at ¶¶ 10-11.

        I do consider Petitioner’s three-month delay in seeking care, coupled with her
numerous opportunities to bring the pain to the attention of her treaters, to be highly
relevant to damages (since it bulwarks the conclusion that her pain was manageable in
this timeframe). But it does not prevent the conclusion that she had pain at this time, or
that some complaints were disregarded.



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       Taken together, the larger record supports a finding that Petitioner suffered
shoulder pain immediately after vaccine administration. In making this finding, I am not,
as Respondent suggests, relying on the claims of Petitioner alone in contravention of
Vaccine Act section 13(a). The record contains ample medical record evidence that
supports this ruling (even if it admittedly comes later in her treatment course, and is not
contemporaneous to the time of vaccine administration). The declarations are consistent
with, and thus support, the medical records. The fact that section 13(a) prohibits relying
on the claims of a petitioner alone does not render a petitioner’s declaration and testimony
evidence meaningless, as Respondent seems to suggest. See Kirby, 997 F.3d at 1383-
84 (reinstating special master’s determination that a petitioner’s testimony, supported by
other records, justified finding that symptoms persisted despite medical record silence on
such symptoms).

       Accordingly, I find there is preponderant evidence to establish that the onset of
Petitioner’s pain occurred within 48 hours of vaccination. Petitioner’s motion for a fact
ruling on onset is GRANTED.

   VI.      Scheduling Order

   •     Respondent shall file, by Thursday, October 07, 2021, a status report
         indicating how he intends to proceed in this case in light of the record and
         this fact ruling. The status report shall indicate whether he is willing to engage in
         tentative discussions regarding settlement or proffer or remains opposed to
         negotiating at this time.

IT IS SO ORDERED.

                                     s/Brian H. Corcoran
                                     Brian H. Corcoran
                                     Chief Special Master




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